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                                                                                                     United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                                UNITED STATES BANKRUPTCY COURT                                            October 03, 2023
                                  SOUTHERN DISTRICT OF TEXAS                                             Nathan Ochsner, Clerk
                                        HOUSTON DIVISION
                                                              §
In re:                                                        § Chapter 11
                                                              §
STRUDEL HOLDINGS LLC and                                      § Case No. 23-90757 (CML)
AVR AH LLC,                                                   §
                                                              § (Jointly Administered)
                      Debtors.1                               §
                                                              §

   ORDER GRANTING DEBTORS’ MOTION SEEKING ENTRY OF AN ORDER
AUTHORIZING THE REJECTION OF CO-LISTING AGREEMENT NUNC PRO TUNC
       TO THE PETITION DATE AND GRANTING RELATED RELIEF

           The above-referenced debtors and debtors in possession (the “Debtors”) filed their Motion

Seeking Entry of an Order Authorizing the Rejection of Co-Listing Agreement Nunc Pro Tunc to

the Petition Date and Granting Related Relief (the “Motion”).2 The Court has jurisdiction over

the Motion and the relief requested in the Motion pursuant to 28 U.S.C. § 1334 and venue is proper

in this District pursuant to 11 U.S.C. § 1408. The Motion is a core proceeding pursuant to 28

U.S.C. § 157(b)(2) and the Court may enter a final order on the Motion. The relief requested by

the Motion is in the best interests of the Debtors, their estate, creditors, stakeholders, and other

parties in interest and the Debtors gave sufficient and proper notice of the Motion. Upon

consideration of the Motion and after hearing statements in support of the Motion during

proceedings before this Court, if any, the Court finds that good cause exists to grant the requested

relief.

           It is therefore ORDERED THAT:



1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’ service address is: PO Box 4068, Aspen,
    CO 81612.
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.



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           1.    The requirements of Bankruptcy Code section 365 and Federal Rule of Bankruptcy

 Procedure 6006 have been satisfied with respect to the Debtors’ rejection of the Co-Listing

 Agreement.

        2.      The Co-Listing Agreement, including any amendments and modifications related

thereto, is rejected as of the Petition Date.

        3.      Any claims based on the rejection of the Co-Listing Agreement shall be filed in

accordance with the bar date for filing proofs of claims, to be established by the Court at a later

date.

        4.      Nothing in the Motion or this Order shall prohibit the Debtors from filing one or

more motions to reject executory contracts or unexpired leases.

        5.      The Debtors reserve all rights to contest any rejection claims.

        6.      The Court retains jurisdiction with respect to all matters arising from or related to

the interpretation or implementation of this Order.

        7.      The Debtors shall serve a copy of this Order on the parties that received service of

the Motion within three (3) business days of the entry of this Order.



Signed: _______________, 2023.
          August03,
         October 02,2023
                     2019               _____________________________________________
                                        HONORABLE CHRISTOPHER M. LOPEZ
                                        UNITED STATES BANKRUPTCY JUDGE




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